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               IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF GEORGIA
                           AUGUSTA DIVISION


UNITED STATES OF AMERICA


     V.                                      OR 115-038


TYRONE BOBO JOHNSON




                                ORDER




     On October 13, 2015, Defendant Tyrone Bobo Johnson pled guilty

to one count of possession with intent to distribute a controlled

substance, a violation of 21 U.S.C. § 841.          He was sentenced to

serve 156 months imprisonment on January 12, 2016.          The Eleventh

Circuit Court of Appeals affirmed his conviction and sentence.

     At present. Defendant filed a motion to reduce his sentence

in light of the First Step Act.    Defendant, however, does not state

how he believes the provisions of the First Step Act could afford

him any relief.   Defendant also seeks the appointment of counsel.

     Section 404 of the First Step Act is the only provision that

applies   retroactively    to   defendants    who   have   already     been

sentenced.   Section   404 allows for a   reduction of sentence based


on the revised statutory penalties of the Fair Sentencing Act of

2010, if such reduction     was   not previously granted.       In other

words. Section 404 of the First Step Act allows a court to reduce

a previously imposed sentence ""as if sections 2 and 3 of the Fair

Sentencing Act of 2010 . . . were in effect at the time the covered
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Sentencing Act of 2010 . . . were in effect at the time the covered

offense    was committed."    Because   Defendant       herein   was actually

sentenced with the provisions of the Fair Sentencing Act of 2010

in place, i.e., he was accorded any benefit thereunder at the time

of sentencing in 2016, the First Step Act has no application here.

Moreover, Defendant has no statutory or constitutional right to

appointed counsel in this context.       See United States v. Webb, 565

F.3d    789, 794   (ll^h cir. 2009)   (^^The   notion    of a    statutory or

constitutional right to counsel for § 3582(c)(2) motions has been

rejected by all of our sister circuits that have addressed the

issue, and we agree with this consensus.").

        Upon the foregoing. Defendant's motion for relief (doc. 63)

is hereby DENIED.

       ORDER ENTERED at Augusta, Georgia, this
                                                    (M
                                                    / day          of August,

2019.




                                        J.V^ANjm HALL,^CH^EF JUDGE
                                        UNITEDStates district court
                                        -SeUTHirRN DISTRICT OF GEORGIA
